     Case 2:08-cv-01618-RCJ-GWF Document 1032 Filed 05/13/14 Page 1 of 5



      DONGELL LAWRENCE FINNEY LLP
 1    MICHAEL C. HETEY, ESQ.
      Nevada Bar No. 5668
 2    707 Wilshire Boulevard, 45th Floor
      Los Angeles, CA 90017-3609
 3
      DONGELL LAWRENCE FINNEY LLP
 4    THOMAS F. VANDENBURG, ESQ.
      (CA Bar No. 163446 - thAdmitted Pro Hac Vice)
 5    707 Wilshire Blvd., 45 Floor
      Los Angeles, CA 90017
 6    Phone: (213) 943-6100 / Fax: (213) 943-6101
      E-mail: tvandenburg@dlflawyers.com
 7
      Steven J. Parsons
 8    Nevada Bar No. 363
      LAW OFFICES OF STEVEN J. PARSONS
 9    7201 W. Lake Mead Blvd., Ste. 108
      Las Vegas, NV 89128-8354
10    Phone: (702) 384-9900 / Fax: (702) 384-5900
      E-mail: Steve@SJPlawyer.com
11
      Attorneys for Defendants Maryland Square Shopping Center, LLC,
12    the Herman Kishner Trust d/b/a Maryland Square Shopping Center,
      Irwin Kishner, Jerry Engel, and Premier Trust, as Trustees for
13    The Herman Kishner Trust
14                              UNITED STATES DISTRICT COURT
15                                    DISTRICT OF NEVADA
16    PETER J. VOGGENTHALER; et. al.             Case No.:  2:08-cv-01618-RCJ-GWF
                         Plaintiffs,
17                                               JOINT STATUS REPORT OF KISHNER
             vs.                                 DEFENDANTS, INCLUDING MSLLC;
18    MARYLAND SQUARE, LLC; et. al.              SHAPIRO DEFENDANTS; and NEVADA
                         Defendants.             DIVISION OF ENVIRONMENTAL
19                                               PROTECTION
      AND RELATED CROSS AND THIRD PARTY
20    CLAIMS
21    STATE OF NEVADA, DEPT. OF                  CONSOLIDATED WITH:
      CONSERVATION AND NATURAL
22    RESOURCES, et. al.                         Case No.:  3:09-cv-231-RCJ-GWF
                                 Plaintiff,
23           vs.
      MARYLAND SQUARE SHOPPING CENTER,
24    LLC, et. al.
25                               Defendants.
      AND RELATED THIRD PARTY CLAIMS
26
      ///
27
      ///
28

                                                      1.
                                         JOINT STATUS REPORT
     Case 2:08-cv-01618-RCJ-GWF Document 1032 Filed 05/13/14 Page 2 of 5




 1             The undersigned parties, Maryland Square Shopping Center, LLC, the Herman Kishner
 2    Trust d/b/a Maryland Square Shopping Center, Irwin Kishner, Jerry Engel and Bank of
 3    America, N.A.,1 as Trustees for The Herman Kishner Trust (the “Kishner Defendants”), Patricia
 4    Leibovici, in her capacity as Special Administrator of the Estate of Melvin Shapiro, Shapiro
 5    Brothers Investment Co. (“SBIC”), Maryland Square LLC, and Nevada Division of
 6    Environmental Protection (collectively, the “Parties”), by and through their counsel of record,
 7    hereby submit this Joint Status Report to assist the Court in advance of the Status Conference
 8    scheduled for May 16, 2014.
 9             Since the last Status Conference on February 13, 2014, the Parties and their various
10    carrier representatives conducted a further session of in person mediation with the mediator
11    Robert J. Kaplan, Esq. in San Diego, California on March 13, 2014.
12             At the conclusion of that mediation session, a global resolution of all issues of insurance
13    indemnity of the Kishner Defendants and the Shapiro Defendants was achieved between the
14    Kishner Defendants, the Shapiro Defendants, the various insurance carriers and NDEP. A
15    memorandum of understanding was reached, and the various settlement agreements are
16    presently being documented and are expected to be fully executed in the next two to three (2-3)
17    weeks.
18             The funding from the global settlement will allow the Kishner Defendants to implement
19    the expected groundwater remedy under the Permanent Injunction. It is anticipated that NDEP
20    will issue in the next few weeks the Proposed Plan (i.e., the Remedial Action Plan) for the
21    selected remedial actions to achieve the remediation standards for PCE in indoor air and
22    groundwater.      Once the Proposed Plan is finalized and an accurate timeline is available for
23    implementing compliance with the remainder of the Permanent Injunction, the Kishner
24
25
      1
26      On or about July 12, 2013, the Probate Court of the Eighth Judicial District Court, Clark
      County, Nevada, entered an Order, allowing Defendant Bank of America, N.A., as Trustee for
27    Defendant Herman Kishner Trust, to withdraw as Trustee. Thereupon, Premier Trust, Inc., a
      Nevada corporation, was installed as a Trustee for Defendant Herman Kishner Trust. Defendant
28    Herman Kishner Trust will seek the parties’ stipulation to the Court to allow the Court to Order
      a substitution of these parties.
                                                      2.
                                             JOINT STATUS REPORT
     Case 2:08-cv-01618-RCJ-GWF Document 1032 Filed 05/13/14 Page 3 of 5




 1    Defendants and NDEP expect to petition this Court for modifications to the Permanent
 2    Injunction consistent with the Proposed Plan.
 3           Accordingly, the Parties respectfully request the following:
 4           (1)    The Court shall stay all litigation activities; and
 5           (2)    The Parties shall provide the Court with a further joint status report by August 1,
 6                  2014 or as the Court may otherwise direct.
 7
 8    DATED: May 13, 2014                           DONGELL LAWRENCE FINNEY LLP
 9
                                                    By:    /s/Thomas F. Vandenburg
10                                                         Thomas F. Vandenburg
                                                    Attorneys for Defendants Maryland Square
11                                                  Shopping Center, LLC, the Herman Kishner Trust
                                                    d/b/a Maryland Square Shopping Center, Irwin
12                                                  Kishner, Jerry Engel, and Premier Trust, as
                                                    Trustees for The Herman Kishner Trust
13
14
      DATED: May 13, 2014                           BENESCH FRIEDLANDER COPLAN &
15                                                  ARONOFF, LLP
16
                                                    By:     /s/Jeremy Gilman
17                                                          Jeremy Gilman
18                                                  Attorneys for Defendants Patricia Leibovici, in her
                                                    capacity as Special Administrator of the Estate of
19                                                  Melvin Shapiro, Estate of Phillip Shapiro, and
                                                    Shapiro Brothers Investment Co.
20
21
      DATED: May 13, 2014                           NEIL J. BELLER, LTD.
22
23                                                  By:     /s/Neil J. Beller
                                                            Neil J. Beller
24
                                                    Attorneys for Defendants Patricia Leibovici, in her
25                                                  capacity as Special Administrator of the Estate of
                                                    Melvin Shapiro, Estate of Phillip Shapiro, and
26                                                  Shapiro Brothers Investment Co.
27    ///

28    ///

                                                       3.
                                            JOINT STATUS REPORT
     Case 2:08-cv-01618-RCJ-GWF Document 1032 Filed 05/13/14 Page 4 of 5




 1    DATED: May 13, 2014                LAWSON & WEITZEN, LLP
 2
                                         By:    /s/Franklin H. Levy
 3                                              Franklin H. Levy
                                         Attorneys for Defendant Maryland Square, LLC
 4
 5    DATED: May 13, 2014                CATHERINE CORTEZ MASTO
                                         Attorney General
 6
 7                                       By:    /s/Wayne Klomp
 8                                              Wayne Klomp
                                                Deputy Attorney General
 9                                       Attorneys for Plaintiff State of Nevada, Division of
                                         Environmental Protection
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                           4.
                                   JOINT STATUS REPORT
     Case 2:08-cv-01618-RCJ-GWF Document 1032 Filed 05/13/14 Page 5 of 5




 1                                           PROOF OF SERVICE
 2    IT IS HEREBY CERTIFIED THAT:
 3                     I, the undersigned, am a citizen of the United States of America, am over the age
 4    of 18 and not a party to the within action. My business address is 707 Wilshire Boulevard, 45th
 5    Floor, Los Angeles, CA 90017-3609. On May 13, 2014, I served a copy of the foregoing
 6    document described as follows:
 7        JOINT STATUS REPORT OF KISHNER DEFENDANTS, INCLUDING MSLLC;
           SHAPIRO DEFENDANTS; and NEVADA DIVISION OF ENVIRONMENTAL
 8                                PROTECTION
 9    served:
10                     [ X ] Electronically in accordance with United States District Court of the
11                          District of Nevada Electronic Filing Procedures, Section IV Service, B.
12                          Electronic Service.
13
                       I declare that I am employed in the office of an attorney who has been admitted
14
      pro hac vice for the purpose of this case only to the bar of this court at whose direction the
15
      service was made.
16
                       Under penalty of perjury, I declare the aforesaid to be true and correct.
17
18    Executed on May 13, 2014.

19
                                                     By:     /s/ Sheryl R. Douglas
20                                                           Sheryl R. Douglas
21
22
23
      1562-092/84842
24
25
26
27
28


                                                        5.
                                              JOINT STATUS REPORT
